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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                              NORTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )       ORDER
                                               )
       vs.                                     )
                                               )
Cassie Lynn Packineau,                         )        Case No. 4:13-cv-066-5
                                               )
               Defendant.                      )


       Defendant was transported by the Marshal to the Heartview Foundation on July 14, 2014,

at which time she was released subject to the conditions set forth in the court’s July 10, 2014, order.

On July 15, 2014, the court was advised by defense counsel that defendant had been terminated from

the Heartview Foundation’s inpatient treatment program on account of issues that had arisen with

her insurance. Accordingly, the court ORDERS that defendant is to immediately report to the either

the Burleigh County Detention Center in Bismarck or the Heart of America Correctional and

Treatment Center in Rugby, where she shall be remanded into the custody of the United States

Marshal’s custody pending further proceedings. If defendant fails to report to either of these

facilities in a timely manner, the court will authorize the issuance of an arrest warrant for defendant.

       Dated this 15th day of July, 2014.

                                                       /s/ Charles S. Miller, Jr.
                                                       Charles S. Miller, Jr., Magistrate Judge
                                                       United States District Court
